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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                  - against -                                          MEMORANDUM AND ORDER

 BEBARS BASLAN,                                                                Case No. 13-CR-220

                            Defendant.
 -------------------------------------------------------- X
 DEARIE, District Judge

         In July 2014, a jury found defendant Bebars Baslan guilty on four counts of a five-count

 indictment: traveling with intent to commit aggravated sexual abuse of a minor; conspiring to

 sexually exploit a child; attempting to sexually exploit a child; and attempting to coerce or entice

 a child to engage in illegal sexual activity. See Jury Verdict, Dkt. No. 135. These convictions

 resulted from Mr. Baslan’s plan to drug and sexually abuse three children (aged 8-years, 18-

 months, and 3-months) while taking pictures and videos of the abuse. See Presentence

 Investigation Report, Dkt. No. 210, ¶¶ 5-8. Prior to trial, Mr. Baslan pled guilty to possession of

 child pornography. See Criminal Cause for Pleading, Dkt. No. 128; Indictment, Dkt. No. 12. On

 February 27, 2015, this Court sentenced Mr. Baslan to 36 years, or 432 months, of

 imprisonment. Mr. Baslan now moves the Court to reduce his sentence pursuant to 18 U.S.C. §

 3582(c) due to the COVID-19 pandemic and Mr. Baslan’s efforts at rehabilitation. See Baslan

 Mot., Dkt. No. 285, at 1; Baslan Br., Dkt. No. 286, at 2-3. For the following reasons, the motion

 is DENIED.

         The Court assumes the parties’ familiarity with Mr. Baslan’s trial, post-conviction filings,

 and the related decisions of this Court and the Second Circuit Court of Appeals. Mr. Baslan’s

 Motion to Vacate pursuant to 28 U.S.C. § 2255 is pending before this Court and will be

 addressed separately. See Motion to Vacate, Dkt. No. 265.
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                                        LEGAL STANDARD

        A court may reduce a criminal defendant’s sentence upon a showing that: (1) he has

 exhausted all administrative remedies; (2) extraordinary and compelling reasons warrant a

 reduction; (3) the factors outlined in 18 U.S.C. § 3553(a) support reduction; and (4) reduction is

 consistent with Sentencing Commission policy statements. See 18 U.S.C. § 3582(c)(1)(A);

 United States v. Thrower, 495 F.Supp.3d 132, 137 (E.D.N.Y. 2020) (defendant bears burden of

 proof). In evaluating whether “extraordinary and compelling reasons” exist, a court may consider

 “the full slate” of reasons a defendant might present. United States v. Brooker, 976 F.3d 228, 237

 (2d Cir. 2020). “The only statutory limit . . . is that rehabilitation alone shall not be considered an

 extraordinary and compelling reason.” Id. at 237-38 (cleaned up). Even if a court finds that a

 defendant has demonstrated extraordinary and compelling reasons, it must further find that the

 18 U.S.C. § 3553(a) factors warrant a sentence reduction. See United States v. Gotti, 433

 F.Supp.3d 613, 615 (S.D.N.Y. 2020) (“The court confronted with a compassionate release

 motion . . . may deny such a motion if . . . [the] Section 3553(a) factors override . . . what would

 otherwise be extraordinary and compelling circumstances.”).

                                            DISCUSSION

    (1) Administrative Exhaustion

        Mr. Baslan’s request for compassionate release was denied by the warden of U.S.P.

 Tucson on February 26, 2021. Baslan Br. Ex. D, Dkt. No. 286, at 1. As the Government

 concedes, the exhaustion requirement is therefore satisfied. See Opp. Br., Dkt. No. 288, at 10.

    (2) Extraordinary and Compelling Reasons

        Mr. Baslan argues that harsh prison conditions and his risk of illness associated with the

 COVID-19 pandemic, alongside his rehabilitation, constitute extraordinary and compelling



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 reasons under § 3582(c)(1)(A)(i). While the Court recognizes the risks associated with COVID-

 19 in the prison context and appreciates Mr. Baslan’s apparent commitment to rehabilitation, his

 arguments are unpersuasive.

        (a) COVID-19

        Mr. Baslan is currently serving his sentence at U.S.P. Tucson. As Mr. Baslan details,

 U.S.P. Tucson has experienced outbreaks of COVID-19, and eleven inmates at the facility have

 died from the disease. See BOP: COVID-19 Update, https://www.bop.gov/coronavirus/ (last

 visited Oct. 26, 2021). However, the outbreak is now under control: as of October 26, 2021,

 U.S.P. Tucson has no inmates and only one staff member with a positive case of COVID-19. See

 id. These low positivity rates indicate that Mr. Baslan, who has been vaccinated, does not

 currently face a serious risk of contracting COVID-19 at U.S.P. Tucson. Mr. Baslan also

 describes the difficult conditions at U.S.P. Tucson over the last year, including restrictions on his

 access to the outdoors, exercise, and programming. Baslan Br., Dkt. No. 286, at 8-9. However,

 these are conditions that all inmates have experienced, and they do not constitute extraordinary

 and compelling factors in Mr. Baslan’s case. See, e.g., United States v. Johnson, No. 18-cr-907,

 2021 WL 4120536, at *3 (S.D.N.Y. Sept. 9, 2021) (noting that pandemic prison restrictions “are

 circumstances that all inmates have had to endure”). Moreover, while these restrictions pose a

 hardship, they do not rise to the level of extraordinary and compelling.

        Mr. Baslan states that he suffers from several medical conditions – Asthma, Hepatitis B,

 and Rheumatoid Arthritis – but he has failed to show that these conditions place him at a

 substantially increased risk of complications from COVID-19. While sufferers of moderate to

 severe asthma can experience serious symptoms from COVID-19, see People with Certain

 Medical Conditions, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-



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 precautions/people-with-medical-conditions.html (last visited Oct. 27, 2021), the medical records

 submitted by Mr. Baslan do not suggest that his asthma is moderate or severe. Rather, his asthma

 is apparently well-controlled such that he uses an inhaler only on an “as-needed” basis. See

 Baslan Br. Ex. E, Dkt. No. 286, at 1; cf. United States v. Nickens, No. 5:11-cr-317(2), 2021 WL

 4487824, at *2 (N.D.N.Y. Sept. 14, 2021) (granting § 3582 motion because defendant’s asthma

 was “poorly controlled” and caused “daily coughing and wheezing,” among other reasons). As

 Mr. Baslan acknowledges, his Hepatitis B infection is currently “dormant.” Baslan Br., Dkt. No.

 286, at 10. To treat his Rheumatoid Arthritis, Mr. Baslan receives weekly injections of the drug

 Abatacept. Baslan Br. Ex. E, Dkt. No. 286, at 3. Mr. Baslan’s argument that this drug causes

 immunosuppression and puts him at greater risk of serious illness from COVID-19 is not

 supported by the medical documentation provided. Additionally, Mr. Baslan has been fully

 vaccinated against COVID-19 since January 2021. See Gov. Opp., Dkt. No. 288, at 7; Baslan

 Reply, Dkt. No. 289, at 1. Although vaccinated individuals remain susceptible to “breakthrough”

 infections, the vaccine significantly reduces the risk that Mr. Baslan may become severely ill

 from COVID-19.

        For these reasons, the Court finds that the conditions of confinement and health risks

 resulting from the COVID-19 pandemic do not constitute extraordinary and compelling

 circumstances in Mr. Baslan’s case.

        (b) Rehabilitation

        While Mr. Baslan acknowledges the Second Circuit’s reminder to the district courts in

 Brooker that a defendant’s rehabilitation cannot, standing alone, constitute an extraordinary and

 compelling reason to justify sentence reduction, his brief nevertheless dedicates many pages to

 describing the rehabilitation he has undergone since his sentencing. See Baslan Br., Dkt. No.



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 286, at 11-27; Baslan Br. Ex. G-JJ, Dkt. No. 286. As his brief details, Mr. Baslan has engaged in

 community programs as a participant and mentor, holds a job in the prison library, and claims to

 have made many other contributions while incarcerated. See id. Mr. Baslan has maintained a

 clean disciplinary record and his PATTERN risk assessment shows that he has a “minimum” risk

 of recidivism. Baslan Br. Ex. II, Dkt. No. 286, at 1-3.

        Taking Mr. Baslan at his word, the Court credits his efforts to improve himself and

 others. However, even taken “in combination with other factors” described in Mr. Baslan’s brief,

 his rehabilitation is not sufficient to constitute extraordinary and compelling circumstances. See

 United States v. Lewis, No. 10-cr-392-10, 2021 WL 1873154, at *2 (S.D.N.Y. May 10, 2021);

 United States v. Burman, No. 16-cr-190, 2021 WL 681401, at *6 (S.D.N.Y. Feb. 21, 2021). Mr.

 Baslan’s efforts at rehabilitation apparently began with his participation in the Challenge

 Program in 2016, five years ago. See Baslan Br., Dkt. No. 286, at 13. Five years of rehabilitative

 efforts, such as they may be, in the context of a 36-year sentence do not merit the extraordinary

 consideration Mr. Baslan urges upon the Court. Additionally, in weighing Mr. Baslan’s

 rehabilitation, the Court is mindful of Mr. Baslan’s history of manipulative tactics. See, e.g.,

 Baslan Br., Dkt. No. 286, at 11 (acknowledging “Mr. Baslan’s talents as a manipulator”); Opp.

 Br., Dkt. No. 288, at 14.

        Mr. Baslan argues that United States v. Rodriguez, 492 F.Supp.3d 306 (S.D.N.Y. 2020),

 supports his motion. But, in that case, the defendant’s rehabilitation was supported by a track

 record of 20 years and 27 letters from prison officials. Id. at 311-12. Mr. Baslan’s submissions

 do not convincingly demonstrate the same unwavering commitment to rehabilitation.

 Additionally, the COVID-related factors in Rodriguez were significantly more compelling: that

 case was decided in September 2020, before vaccines were available, and the defendant suffered



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 from severe health conditions that even the government conceded met the extraordinary and

 compelling “threshold.” Id. at 310. Thus, Rodriguez is inapposite here.

    (3) Section 3553(a)

        Even if Mr. Baslan could establish extraordinary and compelling reasons justifying a

 reduced sentence, the 18 U.S.C. § 3553(a) factors would not warrant a sentence reduction. See

 18 U.S.C. § 3582(c)(1)(A). Such factors include the nature and circumstances of the offense; the

 history and characteristics of the defendant; the need for the sentence imposed to reflect the

 seriousness of the offense and to provide just punishment for the offense; and the need to protect

 the public from further crimes of the defendant. Id.

        Mr. Baslan’s offenses were very serious: he was found guilty of traveling across state

 lines as part of an attempt to sexually abuse three children under the age of twelve, including a

 toddler and an infant. See Presentence Investigation Report, Dkt. No. 210, ¶ 5. As the Court

 made clear at sentencing, what Mr. Baslan did and attempted to do was “revolting.” Sentencing

 Transcript, Dkt. No. 213, at 22. His 36-year sentence reflects the seriousness of this offense.

        Mr. Baslan’s history and characteristics also weigh against a reduction of sentence. A

 self-described manipulator, Mr. Baslan failed to take responsibility for his actions even after

 being found guilty on all counts by a jury. See Baslan Br., Dkt. No. 286, at 5 (acknowledging

 that Mr. Baslan behaved with “no appreciation for the seriousness of his crimes” at the time of

 sentencing); Presentence Investigation Report, Dkt. No. 210, ¶ 117. Additionally, Mr. Baslan

 was in his mid-thirties when his crimes occurred; this was not a youthful or isolated indiscretion.

 See Presentence Investigation Report, Dkt. No. 210, at 1.

        Finally, § 3553(a) instructs this Court to consider the need to protect the public. The

 Court emphasized at sentencing in 2015 that Mr. Baslan’s sentence was necessary “to protect



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 others from folks like [him].” Sentencing Transcript, Dkt. No. 213, at 23. Despite Mr. Baslan’s

 claimed efforts at rehabilitation, the Court must consider that a 44-year-old, in mostly good

 health, and with a history of egregious conduct towards children, may still pose a danger to the

 community. Although Mr. Baslan has maintained a clean record while incarcerated, this track

 record hardly assures the Court that his continued imprisonment is no longer necessary to ensure

 the safety of the most vulnerable members of society. See United States v. Boyd, No. 13-cr-890,

 2021 WL 2732011, at *3 (S.D.N.Y. May 26, 2020) (denying compassionate release for

 defendant whose sex trafficking crimes “preyed on vulnerable members of our society”).

        As of October 2021, Mr. Baslan has served approximately 80 months, or 18.5%, of his

 sentence. He has not yet served even half of the time the Court found appropriate under

 § 3553(a) at the time of sentencing; his projected release date is November 21, 2043. See BOP

 Inmate Locator, https://www.bop.gov/inmateloc/, (last visited Oct. 27, 2021). This is yet another

 reason why Mr. Baslan’s motion must be denied under § 3553(a). See, e.g., United States v.

 Gomez, No. 18-cr-341, 2021 WL 3666158, at *5 (S.D.N.Y. Aug. 17, 2021) (collecting cases

 denying motions for compassionate release where defendants “had yet to serve the bulk of the

 sentences the Court had found necessary under § 3553(a), even where such defendants could

 point to heightened vulnerability to COVID-19 and/or to heightened rigors of imprisonment”);

 United States v. Callahan, No. 13-cr-453, 2021 WL 2661144, at *3 (E.D.N.Y. June 29, 2021)

 (releasing defendant who had served less than a third of his term of sentence would not be

 consistent with § 3553(a)); cf. United States v. Robles, No. 08-cr-1114, 2021 WL 3524067, at *7

 (S.D.N.Y. Aug. 10, 2021) (emphasizing that compassionate release motions have often been

 granted to movants “who were near the end of their sentence”).




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        Given these considerations, reducing Mr. Baslan’s sentence would not be consistent with

 the § 3553(a) factors. At this time, the Court concludes that Mr. Baslan’s sentence is sufficient

 and no greater than necessary to satisfy the requirements of § 3553(a).

    (4) Sentencing Commission Policy Statements

        The policy statements of the Sentencing Commission “essentially restate[] the

 requirements of the compassionate-release statute, adding only that a sentence reduction is

 warranted only if the defendant is not a danger to the safety of any other person or to the

 community.” United States v. Torres, 464 F.Supp.3d 651, 659 (S.D.N.Y. 2020) (citing policy

 statement) (cleaned up). As discussed above, the factors in the compassionate release statute and

 concerns for the safety of the community counsel against granting Mr. Baslan’s motion.

                                          CONCLUSION

 Mr. Baslan’s motion is denied.

 SO ORDERED.

 Dated: Brooklyn, New York                             /s/ Raymond J. Dearie_____
        October 27, 2021                               RAYMOND J. DEARIE
                                                       United States District Judge




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